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                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                         LAFAYETTE – OPELOUSAS DIVISION

 UNITED STATES OF AMERICA                        CRIMINAL NO. 6:00-cr-60029-01

 VERSUS                                          JUDGE MELANÇON

 JOHN TIMOTHY COTTON                             MAGISTRATE JUDGE HANNA


                        REPORT AND RECOMMENDATION

                                     (Rec. Doc. 781)


         Pending before this Court is John Timothy Cotton’s pro se motion, brought

 pursuant to 28 U.S.C. § 2255, to vacate, set aside, or correct his sentence (Rec. Doc.

 781).       This matter was referred to the undersigned for review, report, and

 recommendation in accordance with the provisions of 28 U.S.C. § 636 and the

 standing orders of this Court. The respondent was served and has filed an answer as

 well as a memorandum in response to the motion.

         For the following reasons, it is recommended that the motion be DENIED.



                                  FACTUAL BACKGROUND

         The facts of this case were recited in detail in the Fifth Circuit’s opinion

 affirming Cotton’s conviction and sentence.1 Succinctly, Cotton headed a cocaine

         1
                 Rec. Doc. 764.
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 trafficking operation based in Houston, Texas.2 Cotton sold crack and powder

 cocaine from his apartment; converted powder cocaine into crack cocaine in his

 apartment, and operated several “crack houses” in and around Houston for

 distributing illegal narcotics3. In addition to an extensive client base in Texas,4

 Cotton “maintained a significant drug distribution network in Louisiana,”5 had

 customers in Mississippi,6 and maintained a drug operation in Kansas.7 Cotton was

 involved with “the Macara,” “an organization in the Dominican Republic that used

 ‘white magic’ to invoke the protection and guidance of ‘spirits.’”8 After Cotton and

 others involved in his drug operation paid to join the Macara, a ritual was held in

 Houston to invoke the spirits to protect Cotton’s organization against certain law

 enforcement officers.9 Cotton also participated in a Macara festival in the Dominican




       2
              Rec. Doc. 764-1 at 3-4.
       3
              Rec. Doc. 764-1 at 4.
       4
              Rec. Doc. 764-1 at 6.
       5
              Rec. Doc. 764-1 at 7.
       6
              Rec. Doc. 764-1 at 10.
       7
              Rec. Doc. 764-1 at 11.
       8
              Rec. Doc. 764-1 at 6.
       9
              Rec. Doc. 764-1 at 6.

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 Republic.10 Evidence was presented at trial showing that a Macara spiritualist stole

 a large shipment of cocaine from some Dominicans, that the stolen cocaine was sold

 to Cotton’s organization, and that the money was hidden in a vehicle that was shipped

 to the Dominican Republic and later observed parked at the spiritualist’s home.11



                                  PROCEDURAL HISTORY

        Cotton and eight other individuals were indicted on November 15, 2000.12

 Count One charged Cotton and his co-defendants with conspiracy to possess cocaine

 with intent to distribute, beginning or about January 1, 1990 until September 1, 2000,

 in violation of 21 U.S.C. §§ 846 and 841(a)(1). Count Two charged Cotton with

 possession of cocain base with intent to distribute on April 11, 1996, in violation of

 21 U.S.C. § 841(a)(1). Count Three charged Cotton with conspiracy to commit

 money laundering, in violation of 18 U.S.C. § 1956(h). Count Four charged Cotton

 with conducting a continuing criminal enterprise (“CCE”), in violation of 21 U.S.C.

 § 848, which spanned the time period from January 1, 1990 through December 1,

 1999. Count Five was a forfeiture count. On August 8, 2003, upon motion by the

        10
               Rec. Doc. 764-1 at 6.
        11
               Rec. Doc. 764-1 at 9.
        12
                A copy of the grand jury’s Superseding Indictment, filed on November 15, 2000, is
 found in the record at Rec. Doc. 52.

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 government, the Court dismissed Count Three of the Superseding Indictment, the

 money laundering count.13

        The trial lasted for fourteen days,14 during which the government presented

 more than one hundred witnesses and introduced more than one thousand exhibits.15

        On August 12, 2004, Cotton was found guilty of conspiracy to possess with

 intent to distribute over fifty grams of cocaine base and he was found guilty of

 continuing criminal enterprise.16 Upon the government’s motion, the Court dismissed

 the conspiracy count, which was Count One of the superseding indictment.17

        On January 26, 2005, Cotton was sentenced to life imprisonment.18 Cotton

 appealed, and the Fifth Circuit affirmed his conviction.19




        13
               Rec. Docs. 303, 308.
        14
               Rec. Doc. 596.
        15
               Rec. Doc. 764-1 at 4.
        16
               Rec. Doc. 599.
        17
                 See Rec. Doc. 845, the Fifth Circuit’s decision regarding the renumbering of the
 counts of the indictment.
        18
               Rec. Doc. 706.
        19
               Rec. Doc. 764-1 at 2.

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        Cotton then filed this timely motion to vacate, alleging that he received

 ineffective assistance of counsel at trial and on appeal.20 The government filed an

 answer and a memorandum in support of its answer.21



                                          ANALYSIS

        Relief under 28 U.S.C. § 2255 is reserved for transgressions of constitutional

 rights and for a narrow range of injuries that could not have been raised on direct

 appeal and would, if condoned, result in a complete miscarriage of justice.22

        All of the grounds for relief articulated in Cotton’s briefing are ineffective

 assistance of counsel claims. The Sixth Amendment guarantees criminal defendants

 the “right to effective assistance of counsel at every critical stage of the proceedings

 against them.”23 This right “is denied when a defense attorney's performance falls

 below an objective standard of reasonableness and thereby prejudices the defense.”24

 Ineffective assistance of counsel claims are reviewed under a two-prong test


        20
               Rec. Doc. 155.
        21
               Rec. Docs. 166, 166-1.
        22
               United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992).
        23
               Burdine v. Johnson, 262 F.3d 336, 344 (5th Cir. 2001).
        24
               Yarborough v. Gentry, 540 U.S. 1, 4 (2003), citing Wiggins v. Smith, 539 U.S. 510,
 521 (2003).

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 established by the United States Supreme Court. A defendant must demonstrate: (1)

 that his attorney’s representation was deficient because it fell below an objective

 standard of reasonableness; and (2) that the attorney’s deficient performance

 prejudiced the defendant.25 The defendant bears the burden of establishing both

 prongs of the test, and failure to establish either prong is fatal to the claim.26

        In analyzing the first part of the test, judicial scrutiny of an attorney's

 performance must be “highly deferential,” and the court must make every effort “to

 eliminate the distorting effects of hindsight, to reconstruct the circumstances of

 counsel's alleged conduct, and to evaluate the conduct from counsel's perspective at

 the time.”27 There is a “strong presumption that counsel's conduct falls within the

 wide range of reasonable professional assistance.”28

        The second part of the test, prejudice, is satisfied only if “there is a reasonable

 probability that, but for counsel's unprofessional errors, the result of the proceeding

 would have been different.”29 “A reasonable probability is a probability sufficient to

        25
               Strickland v. Washington, 466 U.S. 668, 687 (1984). See, also, United States v.
 Franks, 230 F.3d 811, 813 (5th Cir. 2000); United States v. Garcia, 77 F.3d 857, 859 (5th Cir. 1996).
        26
                  United States v. Franks, 230 F.3d at 813; Tucker v. Washington, 115 F.3d 276, 281
   th
 (5 Cir. 1997).
        27
                  Strickland v. Washington, 466 U.S. at 689.
        28
                  Strickland v. Washington, 466 U.S. at 689.
        29
                  Strickland v. Washington, 466 U.S. at 694.

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 undermine confidence in the outcome.”30 Thus, to establish prejudice, Cotton must

 show a reasonable probability that he would have prevailed at trial had his counsel

 done those things Cotton now claims should have been done during trial and that his

 conviction would have been overturned or his sentence shortened if his appellate

 counsel had been effective.



        Issue One

        Cotton claims that he received ineffective assistance of counsel at trial because

 his attorney waived his opening statement. Cotton was tried along with four co-

 defendants. Counsel for two of the defendants made opening statements, while

 counsel for Cotton as well as counsel for the two other defendants did not make

 opening statements.31 An attorney’s decision concerning whether to make an opening

 statement falls within the zone of trial strategy.32 “[T]the bare fact that counsel made

 no opening statement establishes neither deficient performance nor prejudice.”33 To




        30
                Strickland v. Washington, 466 U.S. at 694.
        31
                Rec. Doc. 542.
        32
                 Murray v. Maggio, 736 F.2d 279, 283 (5th Cir. 1984); Williams v. Beto, 354 F.2d 698,
 703 (5th Cir. 1965).
        33
                Martin v. Thaler, 2010 WL 2697155, 8 (N.D. Tex. 2010).

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 the contrary, there is a strong presumption that the decision to waive an opening

 statement is a matter of trial strategy and professional judgment.34

       In this case, Cotton has not presented any argument or evidence demonstrating

 that his trial counsel’s decision not to make an opening statement was anything more

 than a strategic decision. He argues that the conspiracy and CCE charges were

 complex and that the elements of those crimes and the available defenses should have

 been explained to the jury by his counsel in an opening statement. In particular,

 Cotton argues that his counsel was ineffective for failing to instruct the jury, in an

 opening statement, that it was required to unanimously agree on which predicate acts

 constitute a continuing series of violations to support the CCE conviction.

       But Cotton has not demonstrated that he was prejudiced by his attorney’s

 decision not to give an opening statement nor has he demonstrated a reasonable

 probability that the result of the trial would have been different if his attorney would

 have made an opening statement. He does not argue that the trial court judge failed

 to provide the subject jury instructions at the completion of the evidence. In fact, the

 trial court judge did instruct the jury, before it began its deliberations, that it was




       34
              Williams v. Beto, 354 F.2d at 703.

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 required to agree unanimously on which of the underlying violations supported the

 CCE charge.35

        Consequently, Cotton has not shown that he was denied effective assistance of

 counsel because his trial counsel gave no opening statement. This claim for habeas

 corpus relief has no merit and should be denied.



        Issue Two

        Cotton contends that his trial counsel was ineffective for failing to challenge

 the indictment. Specifically, Cotton contends that his counsel was ineffective for

 failing to file a pretrial motion arguing that the indictment was defective because it

 did not set forth three predicate violations required to support the CCE charge and,

 for that reason, deprived the trial court of jurisdiction.

        Whether to file a pretrial motion is a matter of trial strategy.36              More

 particularly, whether to file a motion seeking to quash an indictment is a matter of




        35
               Trial Transcript at 2371.
        36
               Schwander v. Blackburn, 750 F.2d 494, 500 (5th Cir. 1985); Murray v. Maggio, 736
 F.2d at 283; Williams v. Beto, 354 F.2d at 703.

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 professional judgment, to be exercised in the light of the attorney’s legal knowledge.37

 Furthermore, counsel is not required to file futile motions.38

        An indictment is sufficient if it sets forth the elements of the offense charged,

 fairly informs the defendant of the charge he must meet, and precludes the risk of

 future prosecutions for the same offense.39 Cotton does not complain that the grand

 jury’s indictment fails to meet these criteria. Instead, he complains solely that the

 indictment fails to list three predicate acts supporting the CCE charge and argues that

 his counsel was ineffective for failing to raise a jurisdictional issue based on this

 alleged omission. But such an omission does not automatically invalidate the

 indictment40 nor does it deprive the court of jurisdiction.

        The Fifth Circuit previously considered and rejected this identical argument.

 In that case, the plaintiff argued that the indictment was defective because it did not

 allege the series of violations on which his CCE conviction was based, contending




        37
                Williams v. Beto, 354 F.2d at 703.
        38
                Murray v. Maggio 736 F.2d at 283.
        39
                United States v. Alford, 999 F.2d 818, 823 (5th Cir. 1993); United States v. Green, 964
 F.2d 365, 372 (5th Cir. 1992).
        40
                See, e.g., United States v. Flaharty, 295 F.3d 182, 197 (2nd Cir. 2002) (“Although
 Richardson requires that the jury be unanimous on each of the constituent felonies, we have held that
 an indictment that does not identify which of many alleged felonies constituted the series is not
 thereby defective.”)

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 that the defective indictment deprived the court of jurisdiction.41 The Fifth Circuit

 held that the argument was meritless, based upon decisions by the Supreme Court and

 the Fifth Circuit, holding that defects in an indictment are nonjurisdictional.42

 Accordingly, Cotton's claim that the allegedly defective indictment deprived the court

 of jurisdiction is meritless, and Cotton has not demonstrated that his attorney’s failure

 to challenge the indictment was anything other than a sound strategic decision that

 avoided the filing of a futile motion. Cotton has not shown that his attorney’s failure

 to challenge the indictment was ineffective assistance of counsel. Therefore, this

 alleged basis for habeas corpus relief lacks merit.



        ISSUE THREE

        Cotton contends that his trial counsel was ineffective because he did not object

 to the introduction of evidence concerning bad acts outside the geographical scope

 of the alleged conspiracy, including but not limited to testimony concerning Cotton’s

 involvement with a voodoo or white magic group in the Dominican Republic called

 the Macara.


        41
                Wesson v. U.S. Penitentiary Beaumont, TX, 305 F.3d 343, 346 (5th Cir. 2002).
        42
                Wesson v. U.S. Penitentiary Beaumont, TX, 305 F.3d at 346, citing United States v.
 Cotton, 535 U.S. 625, 631 (2002); United States v. Longoria, 298 F.3d 367 (5th Cir. 2002) (en banc);
 United States v. Gonzalez, 259 F.3d 355 (5th Cir. 2002) (en banc).

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        An attorney’s decision to object or not, like his decision concerning whether

 to file a pretrial motion, usually is a strategic decision entitled to much deference.43

 The Court “must be careful not to second guess legitimate strategic choices.”44

 Furthermore, an attorney is not required to file futile motions or make futile

 objections.45 Accordingly, trial counsel’s failure to object to admissible evidence

 would not constitute deficient performance.46

        Here, Cotton argues that his counsel should have objected to the introduction

 of evidence of drug transactions that took place “outside the scope of the conspiracy”

 as being inadmissible under the Federal Rules of Evidence. He also argues that his

 counsel should have objected to the government’s presentation of evidence regarding

 his participation in the Macara because this evidence was unfairly prejudicial and

 therefore also inadmissible. The issue is whether the evidence he complains about

 was intrinsic to the crimes charged and, for that reason, was admissible.

               The proper test to apply in deciding the admissibility of
               “similar acts” or “other acts” evidence depends upon
               whether the evidence in question is “intrinsic” or

        43
              United States v. Dockens, 253 F.3d 706, 3 (5th Cir. 2001), citing Strickland v.
 Washington, 466 U.S. at 689. See, also, Lamb v. Johnson, 179 F.3d 352, 358 (5th Cir. 1999).
        44
               Ward v. Dretke, 420 F.3d 479, 491 (5th Cir. 2005).
        45
               Koch v. Puckett, 907 F.2d 524, 527 (5th Cir. 1990); Murray v. Maggio, 736 F.2d at
 283.
        46
               Koch v. Puckett, 907 F.2d at 527.

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                “extrinsic” evidence. “Other act” evidence is “intrinsic”
                when the evidence of the other act and the evidence of the
                crime charged are “inextricably intertwined” or both acts
                are part of a “single criminal episode” or the other acts
                were “necessary preliminaries” to the crime charged.47

        The admissibility of extrinsic evidence is governed by Rule 404(b) of the

 Federal Rules of Evidence, which states that, while evidence of other crimes, wrongs,

 or acts is not admissible to prove the character of a person in order to show action in

 conformity therewith, it may be admissible for other purposes, such as to prove

 motive, opportunity, intent, preparation, plan, knowledge, identity, or absence of

 mistake or accident. Interpreting that rule requires a two-step test:

                First, it must be determined that the extrinsic offense
                evidence is relevant to an issue other than the defendant's
                character. Second, the evidence must possess probative
                value that is not substantially outweighed by its undue
                prejudice and must meet the other requirements of rule
                403....48




        47
                United States v. Williams, 900 F.2d 823, 825 (5th Cir. 1990), citing United States v.
 Torres, 685 F.2d 921, 924 (5th Cir. 1982). See also, United States v. Stovall, 825 F.2d 817, 825 (5th
 Cir. 1987).
        48
                United States v. Williams, 900 F.2d at 825, quoting United States v. Beechum, 582
 F.2d 898, 911 (5th Cir. 1978) (en banc).


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        An act cannot be characterized as extrinsic when the evidence concerning that

 act and the evidence used to prove the crime charged are inextricably intertwined.49

        In this case, the facts adduced at trial concerning the activities of Cotton and

 his associates in Texas, Mississippi, Louisiana, and Kansas, as well as the facts

 concerning Cotton’s participation in the white magic group in the Dominican

 Republic, are all evidence of “the background facts surrounding the commission of

 the crime”50 and constitute intrinsic evidence necessary to complete the “story of the

 crime.”51 The evidence regarding drug deals in states other than Texas helped to

 establish how Cotton’s criminal enterprise operated, as well as the volume of drug

 sales and the extent of the trafficking of the drugs. Clearly, that evidence was

 inextricably intertwined with the charges brought against Cotton in the indictment.

        Similarly, the evidence concerning Cotton’s participation in the Macara was

 also inextricably intertwined with Cotton’s drug selling operation.                         Cotton

 participated in the Macara and sought the assistance of the Macara spiritualist in an


        49
                United States v. Aleman, 592 F.2d 881, 885 (5th Cir. 1979), citing United States v.
 Calvert, 523 F.2d 895, 907 (8th Cir. 1975), cert. denied, 424 U.S. 911 (1976); 22 C. Wright & K.
 Graham, Federal Practice and Procedure, § 5239 at 441 (1978). See, also, United States v. Garcia,
 27 F.3d 1009, 1014 (5th Cir. 1994); United States v. Torres, 685 F.2d at 924.
        50
                United States v. Wilson, 578 F.2d 67, 72 (5th Cir. 1978).
        51
                 United States v. Morgan, 117 F.3d 849, 861 (5th Cir. 1997) (use of a shotgun arose
 out of the drug conspiracy, was inextricably intertwined with the specific drug deal, and was part of
 the story of the crime.)

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 effort to protect his drug trafficking operation. Evidence was also presented showing

 that he purchased drugs that the Macara spiritualist had stolen from a Dominican

 dealer and his drug operation returned the money used to purchase those drugs back

 to the spiritualist’s home. These facts show that Cotton’s participation in the Macara

 was part and parcel of his overall drug trafficking operation.

       As such, the evidence regarding Cotton’s operations beyond his home based

 in Houston, Texas, including his activities related to the Macara, was admissible, and

 the failure of Cotton’s counsel to object to its presentation at trial cannot be

 considered ineffective assistance of counsel.

       Even if it were established that the evidence of Cotton’s participation in the

 Macara and his operations “outside the geographical scope of the conspiracy”52 was

 not admissible, however, the result would still be the same. The record contains no

 reasons establishing why Cotton’s counsel did not object to the evidence regarding

 the acts that Cotton argues he should have challenged. His counsel may have had

 strategic or tactical reasons for not objecting and, if so, those reasons would negate

 a finding of deficient performance. The United States Supreme Court has instructed

 that, in such a situation, when there is no evidence why counsel did what he did,

 courts should presume that the counsel’s challenged action might be considered


       52
              Rec. Doc. 781-2 at 8.

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 sound trial strategy.53 Cotton has not presented any evidence demonstrating that his

 counsel is not entitled to such a presumption nor has he presented any evidence

 establishing that he would not have been convicted had the challenged evidence,

 including but not limited to that regarding the Macara, not been presented at trial. His

 counsel’s alleged error does not raise the reasonable probability that, but for counsel's

 action (or inaction), the result of the proceeding would have been different.54

 Accordingly, even if the evidence concerning the Macara and the acts that occurred

 outside of Houston, Texas was inadmissible, Cotton is not entitled to habeas corpus

 relief.

           ISSUE FOUR

           Finally, Cotton contends that he received ineffective assistance of counsel on

 appeal because his appellate counsel did not challenge the sufficiency of the evidence

 supporting his CCE conviction. The Constitution does not require an appellate

 attorney to advance every conceivable argument, regardless of merit.55 Instead,

 appellate counsel is required to raise and brief only those issues that counsel believes,




           53
                 See Strickland v. Washington, 466 U.S. at 689.
           54
                 Knox v. Johnson, 224 F.3d 470, 480-81 (5th Cir. 2000).
           55
                 Evitts v. Lucey, 469 U.S. 387, 394 (1985).

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 in the exercise of professional judgment, to have the best chance of success.56

 Raising only those issues with plausible merit is emblematic of an able counsel’s trial

 strategy.57

        In this case, Cotton moved for a judgment of acquittal shortly after the trial

 concluded, and his motion was denied. He then filed another motion for a judgment

 of acquittal58 as well as a motion for a new trial.59 Both motions were denied.60 In

 denying the motion for a judgment of acquittal, the trial court said:

                a court may set aside a jury’s guilty verdict and grant a
                post-verdict judgment of acquittal to a defendant if the
                evidence presented at trial was insufficient to sustain the
                conviction. Finding the evidence in this case sufficient to
                sustain the jury’s verdict... defendant’s motion for
                judgment of acquittal is DENIED.61




        56
                 See, e.g., United States v. Williamson, 183 F.3d 458, 462 (5th Cir. 1999); Willingham
 v. Cockrell, 61 Fed. App’x 918 (5th Cir. 2003), citing Jones v. Barnes, 463 U.S. 745, 751-52 (1983).
        57
                Wicker v. McCotter, 783 F.2d 487, 497 (5th Cir. 1986).
        58
                Rec. Doc. 573.
        59
                Rec. Doc. 576.
        60
                Rec. Docs. 601, 602.
        61
                Rec. Doc. 601.

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       Cotton then filed a motion to correct his sentence62 and another motion for new

 trial.63 Again, the trial court denied both motions.64 In denying the motion for a new

 trial, the Court addressed the new evidence that Cotton and his co-defendants claimed

 would have exonerated them, which was the affidavit testimony of eight inmates.

 The Court said:

              given the substantial evidence supporting the verdicts in
              this case beyond the testimony of the inmates, this
              impeachment evidence does not have any tendency to
              undermine the outcome at trial. The Court also finds that
              in light of the overwhelming evidence presented at the
              three-week trial of defendants, and the questionable
              credibility of the affiants’ proferred testimony, a new trial
              would probably not result in an acquittal of any of these
              three defendants.65

       Cotton’s appellate counsel challenged the district court’s denial of his motion

 for a new trial on the basis that newly discovered evidence exonerated him66 but did

 not expressly challenge the sufficiency of the evidence presented at trial on the CCE

 charge. The Fifth Circuit affirmed the district court’s denial of Cotton’s motion for



       62
              Rec. Doc. 674.
       63
              Rec. Doc. 675.
       64
              Rec. Docs. 685, 727.
       65
              Rec. Doc. 727 at 3 (emphasis in the original).
       66
              Rec. Doc. 764-1 at 2.

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 a new trial.67 In reaching its ruling, the Fifth Circuit commented on the evidence that

 was presented at trial on the CCE charge. “We find ample support for the district

 court’s conclusion that a new trial would probably not result in Cotton’s acquittal of

 his CCE conviction.”68 The Fifth Circuit reviewed the evidence that was presented

 by the government in support of the CCE charge and concluded: “In light of all of

 this evidence, there is sufficient support for Cotton’s CCE conviction....”69 The Fifth

 Circuit then went on to say that, even if it were to consider the newly discovered

 evidence upon which Cotton based his motion for a new trial, “Defendants [including

 Cotton] still have not established that [the evidence], if introduced at a new trial,

 would probably produce an acquittal.”70 The Fifth Circuit then concluded that “the

 district court did not abuse its discretion in denying Defendants’ [including Cotton’s]

 motions for new trial based on newly discovered evidence.”71

       Even though it was not expressly asked to do so, the Fifth Circuit considered

 the sufficiency of the evidence presented in support of the CCE charge and concluded

 that, in light of all of the evidence presented at trial, there was sufficient support for

       67
              Rec. Doc. 764-1 at 2, 42.
       68
              Rec. Doc. 764-1 at 22.
       69
              Rec. Doc. 764-1 at 23.
       70
              Rec. Doc. 764-1 at 24.
       71
              Rec. Doc. 764-1 at 24.

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 Cotton’s conviction. This demonstrates that, had Cotton’s appellate counsel raised

 the sufficiency of he evidence issue on appeal, the appeal would not have resulted in

 his conviction being overturned. This was not an issue with plausible merit, and

 Cotton’s counsel was not ineffective for failing to raise it on appeal.

        Furthermore, it is well settled in the Fifth Circuit that issues raised and

 disposed of in a previous appeal from an original judgment of conviction are not to

 be considered in a subsequent § 2255 motion.72 The fact that the Fifth Circuit already

 considered the sufficiency of the evidence presented at trial with regard to the charges

 against Cotton precludes that issue from being considered further.

        Accordingly, for these two independent reasons, Cotton is not entitled to

 habeas corpus relief on this issue.



                                            Conclusion

        For the reasons stated above,

        IT IS RECOMMENDED that Cotton’s motion to vacate, set aside, or correct

 his sentence (Rec. Doc. 781) be DENIED.




        72
                 United States v. Webster, 392 F.3d 787, 791 (5th Cir. 2004); United States v. Rocha,
 109 F.3d 225, 229 (5th Cir. 1997); United States v. Kalish, 780 F.2d 506, 508 (5th Cir. 1986); United
 States v. Jones, 614 F.2d 80, 82 (5th Cir. 1980).

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       Under the provisions of 28 U.S.C. Section 636(b)(1)(C) and Rule 72(b), parties

 aggrieved by this report and recommendation have fourteen days from service of this

 report and recommendation to file specific, written objections with the Clerk of

 Court. A party may respond to another party’s objections within fourteen days after

 being served with a copy of any objections or response to the District Judge at the

 time of filing.

       Failure to file written objections to the proposed factual findings and/or the

 proposed legal conclusions reflected in this report and recommendation within

 fourteen days following the date of its service, or within the time frame authorized by

 Fed. R. Civ. P. 6(b), shall bar an aggrieved party from attacking either the factual

 findings or the legal conclusions accepted by the District Court, except upon grounds

 of plain error. See, Douglass v. United Services Automobile Association, 79 F.3d

 1415 (5th Cir. 1996).

       Pursuant to Rule 11(a) of the Rules Governing Section 2255 Proceedings for

 the United States District Courts, this court must issue or deny a certificate of

 appealability when it enters a final order adverse to the applicant. Unless a Circuit

 Justice or District Judge issues a certificate of appealability, an appeal may not be

 taken to the court of appeals. Within fourteen (14) days from service of this Report

 and Recommendation, the parties may file a memorandum setting forth arguments on

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 whether a certificate of appealability should issue. See 28 U.S.C. § 2253(c)(2). A

 courtesy copy of the memorandum shall be provided to the District Judge at the time

 of filing.

        Signed at Lafayette, Louisiana, this 2nd day of November, 2010.




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